          Case 22-30506 Document 28 Filed in TXSB on 05/27/22 Page 1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                               §   CASE NO. 22-30506-H2-13
                                                     §
TERRI JENKINS,                                       §
   Debtor                                            §   CHAPTER 13
                                                     §
CARRINGTON MORTGAGE                                  §
SERVICES, LLC as servicer                            §
for THE BANK OF NEW YORK                             §
MELLON, F/K/A THE BANK OF                            §
NEW YORK AS TRUSTEE FOR                              §
REGISTERED HOLDERS OF CWABS,                         §
INC., ASSET-BACKED                                   §
CERTIFICATES, SERIES 2006-5,                         §
     Movant                                          §   HEARING DATE: 06/23/2022
                                                     §
v.                                                   §   TIME: 10:30 AM
                                                     §
TERRI JENKINS; ANTWAN HENRY,                         §
Co-Debtor; and WILLIAM E.                            §
HEITKAMP, Trustee                                    §
    Respondents                                      §   JUDGE DAVID R. JONES

     MOTION FOR RELIEF FROM THE STAY AND CO-DEBTOR STAY REGARDING
              EXEMPT PROPERTY AND REQUEST FOR VARIANCE

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF
RELIEF FROM THE AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY
TO REACH AN AGREEMENT. IF YOU CANNOT REACH AN AGREEMENT, YOU MUST FILE A WRITTEN
RESPONSE AND SEND A COPY TO MOVANT NOT LATER THAN JUNE 16, 2022 AND YOU MUST
ATTEND THE HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS
SENT LESS THAN 7 DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
HEARING MAY BE AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM
THE STAY BASED ON THE EVIDENCE PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS
FILED, THE COURT WILL CONDUCT A HEARING ON THIS MOTION ON JUNE 23, 2022 AT 10:30 AM IN
COURTROOM 400, 515 RUSK AVENUE, 4TH FLOOR, HOUSTON, TX 77002.

1. The pay history attached to and filed with this motion does not begin with the inception of
the loan. Movant has filed a proof of claim that includes a pre-petition payment history dating
back to the date that the loan was last current. A post-petition pay history is attached to the
Motion. Movant therefore requests that a variance from the requirement that a pay history from
inception be filed because it is not relevant to this Motion.



SO2120E-48/M-200-MFR-Ex-Var-Cur/Southern/HOUSTON/00000009520529                          Page 1 of 5
          Case 22-30506 Document 28 Filed in TXSB on 05/27/22 Page 2 of 5




2. This Motion requests an order from the Bankruptcy Court authorizing the person filing this
motion to foreclose on or to repossess the property that is identified in paragraph 4.

3. Movant: CARRINGTON MORTGAGE SERVICES, LLC as servicer for THE BANK OF
NEW YORK MELLON, F/K/A THE BANK OF NEW YORK AS TRUSTEE FOR
REGISTERED HOLDERS OF CWABS, INC., ASSET-BACKED CERTIFICATES, SERIES
2006-5

4. Movant, directly or as agent for the holder, holds a security interest in certain real property of
the Debtor(s) having an address of

     11939 CANYON VALLEY DRIVE
     TOMBALL, TX 77377

and a legal description of:

     LOT ONE (1), IN BLOCK TWO (2), OF CANYON GATE AT NORTHPOINTE,
     SECTION TWO (2), AN ADDITION IN HARRIS COUTY, TEXAS ACCORDING TO
     THE MAP OR PLAT THEREOF RECORDED UNDER FILM CODE NO. 404083 OF
     THE MAP RECORDS OF HARRIS COUNTY, TEXAS.

5. Debtor has not yet filed schedules in this case. Movant therefore does not know whether the
property described in paragraph 4 is claimed as exempt by the debtor.

6. Type of collateral (e.g. Home, Manufactured Home, Car, Truck, Motorcycle): Real Estate
property Home.

7. Debtor’s scheduled value of property: Debtor has not yet filed schedules in this case.

8. Movant’s estimated value of property: $330,026.00, based upon appraisal district
valuation.

9. As of May 20, 2022, the total amount owed to movant: $379,592.94.

10. Estimated equity (paragraph 8 minus paragraph 9): $-49,566.94.

11. Total pre-petition arrearages: $100,938.87.

12. Total post-petition arrearages: $4,565.67.

13. Amount of unpaid, past due property taxes, if applicable: N/A.

14. Expiration date on insurance policy, if applicable: N/A.

15.       X       Movant seeks relief based on the debtor(s)' failure to make payments, failure to
file a chapter 13 plan or schedules, and lack of equity in the collateral. Debtor(s)’ payment
history is attached as exhibit “A”. Movant represents that the attached payment history is a
SO2120E-48/M-200-MFR-Ex-Var-Cur/Southern/HOUSTON/00000009520529                              Page 2 of 5
          Case 22-30506 Document 28 Filed in TXSB on 05/27/22 Page 3 of 5



current payment history reflecting all payments, advances, charges and credits dating as far back as
the date of the filing of the bankruptcy. Movant further represents that the payment history is self-
explanatory or can be interpreted by application of coding information that is also attached.
Movant acknowledges that the Court may prohibit the use of parol evidence to interpret a payment
history that does not satisfy these representations.

16.               Movant seeks relief based on the debtor(s)' failure to provide a certificate of
insurance reflecting insurance coverage as required by the debtor's pre-petition contracts.

17. Name of Co-Debtor: ANTWAN HENRY

18. Based on the foregoing, movant seeks termination of the automatic stay and co-debtor stay to
allow movant to foreclose or repossess the debtor(s)’ property and seeks to recover its costs and
attorneys’ fees in an amount not to exceed the amount listed in paragraph 10.

19. Movant certifies that prior to filing this motion an attempt was made to confer with the
Debtor(s)’ counsel (or with Debtor(s), if pro se) either by telephone, by email or by facsimile, by
the following person on the following date and time:

Mitchell Buchman attempted to call the debtor.

May 25, 2022 at 12:04 p.m.

An agreement could not be reached. If requested by debtor and debtor's counsel, a payment
history in the form attached to this motion was provided at least two days, excluding
intermediate weekends and holidays, before this motion was filed.
Date: 05/27/2022                       /s/ MITCHELL BUCHMAN
                                       MITCHELL BUCHMAN
                                       TX NO. 03290750
                                       S.D. TX NO. 6328
                                       1900 ST. JAMES PLACE SUITE 500
                                       HOUSTON, TX 77056
                                       Telephone: (713) 621-8673
                                       Facsimile: (713) 621-8583
                                       E-mail: SDECF@BDFGROUP.COM
                                       ATTORNEY FOR MOVANT




SO2120E-48/M-200-MFR-Ex-Var-Cur/Southern/HOUSTON/00000009520529                             Page 3 of 5
          Case 22-30506 Document 28 Filed in TXSB on 05/27/22 Page 4 of 5




              Certificate of Service and Certificate of Compliance with BLR 4001

        A copy of this motion was served on the persons shown on exhibit “1” at the addresses
reflected on that exhibit on May 27, 2022 via electronic means as listed on the Court's ECF
Noticing System or by prepaid United States first class mail. Movant certifies that movant has
complied with Bankruptcy Local Rule 4001.

                                       /s/ MITCHELL BUCHMAN
                                       MITCHELL BUCHMAN
                                       TX NO. 03290750
                                       S.D. TX NO. 6328
                                       1900 ST. JAMES PLACE SUITE 500
                                       HOUSTON, TX 77056
                                       Telephone: (713) 621-8673
                                       Facsimile: (713) 621-8583
                                       E-mail: SDECF@BDFGROUP.COM
                                       ATTORNEY FOR MOVANT




SO2120E-48/M-200-MFR-Ex-Var-Cur/Southern/HOUSTON/00000009520529                          Page 4 of 5
          Case 22-30506 Document 28 Filed in TXSB on 05/27/22 Page 5 of 5




                                                 EXHIBIT 1

DEBTOR:
TERRI JENKINS
11939 CANYON VALLEY DR.
TOMBALL, TX 77377

CO-DEBTOR:
ANTWAN HENRY
11939 CANYON VALLEY DRIVE
TOMBALL, TX 77377

TRUSTEE:
WILLIAM E. HEITKAMP
9821 KATY FREEWAY
STE 590
HOUSTON, TX 77024

DEBTOR'S ATTORNEY:
PRO SE

PARTIES IN INTEREST:
None

PARTIES REQUESTING NOTICE:
CANYON GATE AT NORTHPOINTE OWNERS ASSOCIATION, INC.
SARAH BETH GERDES, SEARS, BENNETT & GERDES, LLP
6548 GREATWOOD PARKWAY
SUGAR LAND, TX 77479

PRA RECEIVABLES MANAGEMENT, LLC
PO BOX 41021
NORFOLK, VA 23541

TOMBALL INDEPENDENT SCHOOL DISTRICT ET AL.
MELISSA E VALDEZ, PERDUE BRANDON FIELDER COLLINS & MOTT
1235 NORTH LOOP WEST
SUITE 600
HOUSTON, TX 77008




SO2120E-48/M-200-MFR-Ex-Var-Cur/Southern/HOUSTON/00000009520529             Page 5 of 5
